
In re Youngblood, Cornelius A.; — Plaintiffs),• applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “J”, No. 243-352.
Granted. Relator’s enhanced sentence as an habitual offender should have been imposed with the conditions called for in the referenced statute. State v. Bruins, 407 So.2d 685, 687 (La.1981). Accordingly, the district court is ordered to resentence the relator in open court in accordance with the considerations set forth in State v. Desdunes, 579 So.2d 452 (La.1991); State v. Washington, 578 So.2d 1150 (La.1991); and State ex rel. Jackson v. Smith, 578 So.2d 1150 (La.1991).
WATSON, J., not on panel.
